IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Case No: 1:04CV00748

CONSTANCE BARTON, KIMBERLY
CLARK, WESLEY CLARK, TRACIE
HUNT, ELEANOR WALTERS, KAREN
MEREDITH, GILBERT BREEDEN,
LACENTIA THOMPSON, and MATHESIA
PETERSON, on behalf of themselves and on
behalf of classes of those similarly situated,
Plaintiffs, PLAINTIFFS'
RULE 26(f) REPORT
v.

THE PANTRY, INC., also doing business as,
THE PANTRY, BIG K, CAMPUS STORE,
CHARLESTON'S, DEPOT, ETNA,
EXPRESS STOP, FAST LANE, FOOD
CHIEF, GOLDEN GALLON, HANDY
WAY, KANGAROO, KANGAROO
EXPRESS, LIL CHAMP FOOD STORE,
MARKET EXPRESS, MINI MART, ON
THE WAY, QUICK STOP, SMOKERS
EXPRESS, SPRINT, WICKER MART, ZIP
MART, and by other names,

VWVVVVVVVVVVVVVVVVVVVVVVV

Defendants.

1. Pursuant to Federal Rules of Civil Procedure 26(f) and LR l6.l(b), an initial
meeting Was held by telephone on June 12, 2006, by J. Griffm Morgan, Ira Spiro and Charles
Joseph, and Gregory Karasik, attorneys for the plaintiffs; and Carl N. Patterson, Jr., Heather
Adams, R. LaWrence Ashe, Jr., and Tracey Barbaree, attorneys for the defendant A second
meeting Was held by telephone on June l6, 2006, by J. Griffin Morgan, Robert M. Elliot, Ira
Spiro and Gregory Karasik, attorneys for the plaintiffs; and Carl N. Patterson, Jr., Heather
Adams, R. LaWrence Ashe, Jr., and Tracey Barbaree, attorneys for the defendant A third
meeting Was held by telephone on June 20, 2006, by J. Griffin Morgan, Robert M. Elliot, Ira
Spiro and Gregory Karasik, attorneys for the plaintiffs; and Carl N. Patterson, Jr., Heather

Adams, R. LaWrence Ashe, Jr., and Tracey Barbaree, attorneys for the defendant

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2. Discovery Plan. The plaintiffs' propose to the Court the following discovery
plan:

2.1 Scope of Discovery: Discovery will be needed on the subjects stated in
subparagraphs (a) through (c) below, which state the subject matter of discovery but do not
define or limit what specific discovery or discovery devices shall be permitted or precluded, and
are subject to any protective order, and the right of any party to seek protective orders:

(a) Whether the FLSA claims asserted by plaintiffs on behalf of themselves
and on behalf of the class(es) they seek to represent should be conditionally
certified for collective action treatment and notice sent to the members of the
class(es), and if so to whom;

(b) Whether class certification of Plaintiffs’ NCWHA claims under Federal
Rule of Civil Procedure Rule 23 is appropriate;

(c) The claims asserted by plaintiffs for themselves and for the class(es) they
seek to represent, and the defenses asserted by defendants to those claims,

Discovery shall be placed on a case-management track established in LR 26.1. The
plaintiffs propose that the appropriate plan for this case is that designated in LR 26.l(a) as:
Exceptional.

2.2. Time for Discovery: The date for completion of preliminary discovery is: one
year from the date of the Order of Approval of this plan. If the Court conditionally certifies
plaintiffs’ FLSA claims or certifies a class with respect to plaintiffs’ NCWHA claims, the
plaintiffs propose that additional discovery be allowed after any such ruling on matters in
addition to the subjects above, and beyond the one year.

2.3 Plaintiffs' Proposed Modif`ications:

(a) The parties shall be permitted to take the number of depositions necessary to
discover the facts of their claims and defenses, subject to any party’s right to seek protective
orders

(b) Subject to the right of any party to apply for protective orders: prior to filing a
responsive brief in opposition to any certification or decertification motion, the opposing party
shall be entitled to depose any affiant or declarant, expert or non-expert, upon whose affidavit or

declaration the moving party relies in support of the motion; and prior to filing a reply brief on

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any certification or decertification motion, the replying party shall be entitled to depose any
affiant or declarant, expert or non-expert, upon Whose affidavit or declaration the opposing party
relies in opposition to the motion.

(c) Each side (the two sides are plaintiffs and defendant) shall be permitted to
propound up to 50 interrogatories The propounding of additional interrogatories shall be subject
to obtaining leave of Court to do so.

(d) Each side (the two sides are plaintiffs and defendant) Shall be permitted to propound
up to 100 requests for admissions The propounding of additional requests for admissions shall
be subject to obtaining leave of Court to do so.

(e) The initial round of expert disclosures referred to in Federal Rule of Civil Procedure,
Rule 26(a)(2)(C) shall be made by plaintiffs and defendant on or before 120 days before the first
date set for trial. Disclosures under Rule 26(a)(2)(C) relating to expert testimony to rebut or
contradict opposition expert evidence shall be made as provided in Rule 26(a)(2)(C), except the
30 days stated in that rule shall be 45 days.

(f) Supplementations under Rule 26(e) shall be made as provided in that rule.

3. Mediation.

Mediation should be conducted no later than 45 days after the Court has ruled on
Plaintiffs’ motion for FLSA conditional certification and on plaintiffs’ motion for class
certification under Federal Rule of Civil Procedure Rule 23, the exact date to be set by the

mediator after consultation with the parties.

4. Preliminary Deposition Schedule. Preliminarily, the plaintiffs propose the
following schedule for depositions:
(a) The parties will take depositions of fact witnesses through the initial
stages of discovery;
(b) T he parties will take depositions of expert witnesses during the latter

stages of discovery.

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5. Initial Disclosures.
The parties shall have two weeks from the date of the Court's Rule 26(f) Order to provide

initial disclosures in compliance with Rule 26(a).

6. Motions.

Plaintiffs shall file their motion for conditional certification of their FLSA claims on or
before October 2, 2006, and their motion for class certification of their NCWHA claims on or
before August l, 2007. Defendant shall file its motion for decertification of the FLSA claims on
or before August l, 2007 .

7 . Amendment of the Pleadings
The parties should be allowed until eight months after the commencement of discovery to
request leave to join additional parties or to amend pleadings After that date the Court will

consider whether the granting of leave would delay trial.

8. Trial

The plaintiffs cannot predict the anticipated length of any trial in view of the fact that it
has not been determined whether there will be class certification under the FLSA or under
Federal Rule of Civil Procedure Rule 23 at the time of trial.. A jury trial has been demanded.
Plaintiffs propose that trial shall be scheduled for a date approximately six months after

discovery is complete.

9. Other
The parties have discussed special procedures for managing this case, including reference
of the case to a magistrate judge on consent of the parties under 28 U.S.C. §636(c), or

appointment of a master, and report that no such procedures are appropriate in this case.

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Respectfully submitted, this the 22nd day of June, 2006.
COUNSEL FOR PLAINTIFFS

/s/ J. Griffin Morgan

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CERTIFICATE OF SERVICE

l hereby certify that on June 22, 2006, l electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
following:

K. Alan Parry

Kimberly Korando

Carl N. Patterson, Jr.

Kerry A. Shad

Donald H. Tucker, Jr.

Smith, Anderson, Blount, Dorsett,
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And, I hereby certify that I have e-mailed the document to the following non CM/ECF
participants:

R. LaWrence Ashe, Jr. via e-mail at: lawrenceashe@asherafuse.com
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